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                                                     United States District Court
                                                     Central District of California



 UNITED STATES OF AMERICA vs.                                           Docket No.            CR 19-761(A)-JFW

 Defendant            Zoulin Cai (#79122-112)                           Social Security No.   8630          (Last 4 digits)
 akas: Allen Cai; Lin Cai; Zou Lin Cai



                                                                                                           MONTH      DAY     YEAR
       In the presence of the attorney for the government, the defendant appeared in person on               October 4, 2021

  COUNSEL            Samuel A. Josephs, retained; Christa L. Culver Wasserman, retained

      PLEA           X GUILTY, and the court being satisfied that there is a factual basis for the plea.      NOLO             NOT
                                                                                                           CONTENDERE         GUILTY

     FINDING         There being a finding of GUILTY, defendant has been convicted as charged of the offense(s) of:
                     Conspiracy to Commit Wire Fraud and Mail Fraud in violation 18 U.S.C. § 1349 [ct 2] and Aggravated
                     Identity Theft in violation of 18 U.S.C. § 1028A(a)(1) [ct 9] as charged in the Nine-Count First Superseding
                     Indictment filed on July 17, 2020
JUDGMENT             The Court asked whether there was any reason why judgment should not be pronounced. Because no
AND PROB/            sufficient cause to the contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty
  COMM
  ORDER
                     as charged and convicted and ordered that:

Pursuant to the Sentencing Reform Act of 1984, it is the judgement of the Court that the defendant, Zoulin Cai, is
hereby committed on Counts Two and Nine of the First Superseding Indictment to the custody of the Bureau of Prisons
for a term of Sixty Months. This term consists of thirty-six months on Count Two of the First Superseding Indictment,
and twenty-four months on Count Nine of the First Superseding Indictment, to be served consecutively.
Upon release from imprisonment, the Defendant shall be placed on supervised release for three years. This term
consists of three years on Count Two and one year on Count Nine, such terms to run concurrently, under the following
terms and conditions:
1.       The defendant shall comply with the rules and regulations of the United States Probation & Pretrial Services
         Office and Second Amended General Order 20-04, including the conditions of probation and supervised release
         set forth in Section III of Second Amended General Order 20-04.
2.       During the period of community supervision, the defendant shall pay the special assessment and restitution in
         accordance with this judgment's orders pertaining to such payment.
3.       The defendant shall cooperate in the collection of a DNA sample from the defendant.
4.       The defendant shall not commit any violation of local, state, or federal law or ordinance.
5.       The defendant shall apply all monies received from income tax refunds, lottery winnings, inheritance,
         judgments, and any other financial gains to the Court-ordered financial obligation.



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6.       The defendant shall comply with the immigration rules and regulations of the United States, and if deported
         from this country, either voluntarily or involuntarily, not reenter the United States illegally. The defendant is
         not required to report to the Probation & Pretrial Services Office while residing outside of the United States;
         however, within 72 hours of release from any custody or any reentry to the United States during the period of
         Court-ordered supervision, the defendant shall report for instructions to the United States Probation Office
         located at: the 300 N. Los Angeles Street, Suite 1300, Los Angeles, CA 90012-3323.
It is ordered that the Defendant shall pay to the United States a special assessment of $200, which is due immediately.
Any unpaid balance shall be due during the period of imprisonment, at the rate of not less than $25 per quarter, and
pursuant to the Bureau of Prisons' Inmate Financial Responsibility Program.
It is ordered that the Defendant shall pay restitution in the total amount of $9,227,543.46 pursuant to 18 U.S.C. §
3663A.
The amount of restitution ordered shall be paid as follows:
                     Victim                            Amount
                     Acer, Inc.                        $25,837.12
                     Apple, Inc                        $1,051,017.20
                     AsusTrek Computer, Inc.           $38,755.68
                     Dell, Inc                         $3,738,077.86
                     Hewlett-Packard Co.               $2,675,987.60
                     Lenovo Group Ltd.                 $447,535.86
                     Samsung Group                     $81,202.38
                     Toshiba Co.                       $1,169,129.76
                     TOTAL:                            $9,227,543.46
If the Defendant makes a partial payment, each payee shall receive approximately proportional payment unless another
priority order or percentage payment is specific in the judgement.
Restitution shall be due during the period of imprisonment, at the rate of not less than $25 per quarter, and pursuant to
the Bureau of Prisons’ Inmate Financial Responsibility Program. If any amount of the restitution remains unpaid after
release from custody, nominal monthly payments of at least 10% of Defendant’s gross monthly income but not less
than $500, whichever is greater, shall be made during the period of supervised release and shall begin 90 days after the
commencement of supervision.
Pursuant to 18 U.S.C. § 3612(f)(3)(A), interest on the restitution ordered is waived because the Defendant does not
have the ability to pay interest. Payments may be subject to penalties for default and delinquency pursuant to 18 U.S.C.
§ 3612(g)
The Court has found that the money judgment identified in the Money Judgment of Forfeiture against the defendant is
subject to forfeiture. The Money Judgement of Forfeiture (ECF No. 240) is incorporated by reference into this
judgment and is final.
It is ordered that the Defendant shall pay to the United States a total fine of $25,000 which shall bear interest as
provided by law. The fine shall be paid in full within sixty days of sentencing.
The drug testing condition mandated by statute is suspended based on the Court’s determination that the Defendant
poses a low risk of future substance abuse.
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The Government’s Motion to Dismiss Counts One, Three, Four, Five, Six, Seven, and Eight of the First Superseding
Indictment is granted. The Government’s Motion to Dismiss the underlying Indictment is granted.
Defendant informed of right to appeal.
The Court recommends that the Defendant be placed in an institution located at either FCI Taft or Lompoc.

 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
 Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
 supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
 supervision for a violation occurring during the supervision period.




            October 7, 2021
            Date                                                  John F. Walter, U. S. District Judge

 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.


                                                                  Clerk, U.S. District Court



            October 7, 2021                                 By    Shannon Reilly for
            Filed Date                                            Jennifer Graciano, Deputy Clerk




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 The defendant must comply with the standard conditions that have been adopted by this court (set forth below).


                                 STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE


                                  While the defendant is on probation or supervised release pursuant to this judgment:
 1.    The defendant must not commit another federal, state, or local          9.    The defendant must not knowingly associate with any persons engaged
       crime;                                                                        in criminal activity and must not knowingly associate with any person
                                                                                     convicted of a felony unless granted permission to do so by the probation
 2.    The defendant must report to the probation office in the federal              officer. This condition will not apply to intimate family members, unless
       judicial district of residence within 72 hours of imposition of a             the court has completed an individualized review and has determined
       sentence of probation or release from imprisonment, unless                    that the restriction is necessary for protection of the community or
       otherwise directed by the probation officer;                                  rehabilitation;
 3.    The defendant must report to the probation office as instructed by      10.   The defendant must refrain from excessive use of alcohol and must not
       the court or probation officer;                                               purchase, possess, use, distribute, or administer any narcotic or other
                                                                                     controlled substance, or any paraphernalia related to such substances,
 4.    The defendant must not knowingly leave the judicial district                  except as prescribed by a physician;
       without first receiving the permission of the court or probation
       officer;                                                                11.   The defendant must notify the probation officer within 72 hours of being
                                                                                     arrested or questioned by a law enforcement officer;
 5.    The defendant must answer truthfully the inquiries of the probation
       officer, unless legitimately asserting his or her Fifth Amendment       12.   For felony cases, the defendant must not possess a firearm, ammunition,
       right against self-incrimination as to new criminal conduct;                  destructive device, or any other dangerous weapon;
 6.    The defendant must reside at a location approved by the probation       13.   The defendant must not act or enter into any agreement with a law
       officer and must notify the probation officer at least 10 days before         enforcement agency to act as an informant or source without the
       any anticipated change or within 72 hours of an unanticipated                 permission of the court;
       change in residence or persons living in defendant’s residence;
                                                                               14.   The defendant must follow the instructions of the probation officer to
 7.    The defendant must permit the probation officer to contact him or             implement the orders of the court, afford adequate deterrence from
       her at any time at home or elsewhere and must permit confiscation             criminal conduct, protect the public from further crimes of the
       of any contraband prohibited by law or the terms of supervision and           defendant; and provide the defendant with needed educational or
       observed in plain view by the probation officer;                              vocational training, medical care, or other correctional treatment in the
                                                                                     most effective manner.
 8.    The defendant must work at a lawful occupation unless excused by
       the probation officer for schooling, training, or other acceptable
       reasons and must notify the probation officer at least ten days
       before any change in employment or within 72 hours of an
       unanticipated change;




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             The defendant must also comply with the following special conditions (set forth below).
       X
             STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS
           The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1). Payments may be subject
 to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to restitution, however, are not
 applicable for offenses completed before April 24, 1996. Assessments, restitution, fines, penalties, and costs must be paid by certified check
 or money order made payable to “Clerk, U.S. District Court.” Each certified check or money order must include the case name and number.
 Payments must be delivered to:
          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.
          The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).
          The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. § 3664(k).
 The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim,
 adjust the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18 U.S.C.
 § 3563(a)(7).
          As directed by the Probation Officer, the defendant must provide to the Probation Officer: (1) a signed release authorizing credit
 report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial
 statement, with supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant must not apply
 for any loan or open any line of credit without prior approval of the Probation Officer.
           When supervision begins, and at any time thereafter upon request of the Probation Officer, the defendant must produce to the
 Probation and Pretrial Services Office records of all bank or investments accounts to which the defendant has access, including any business
 or trust accounts. Thereafter, for the term of supervision, the defendant must notify and receive approval of the Probation Office in advance
 of opening a new account or modifying or closing an existing one, including adding or deleting signatories; changing the account number or
 name, address, or other identifying information affiliated with the account; or any other modification. If the Probation Office approves the
 new account, modification or closing, the defendant must give the Probation Officer all related account records within 10 days of opening,
 modifying or closing the account. The defendant must not direct or ask anyone else to open or maintain any account on the defendant’s
 behalf.
         The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.
                               These conditions are in addition to any other conditions imposed by this judgment.




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                                                                     RETURN
 I have executed the within Judgment and Commitment as follows:

 Defendant delivered on                                                                      to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                      to

      at
      the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.


                                                                     United States Marshal


                                                               By
            Date                                                     Deputy Marshal

                                                                  CERTIFICATE
 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.

                                                                     Clerk, U.S. District Court


                                                               By
            Filed Date                                               Deputy Clerk




                                                 FOR U.S. PROBATION OFFICE USE ONLY


Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.


         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


         (Signed)
                     Defendant                                                      Date




                     U. S. Probation Officer/Designated Witness                     Date




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